Case 3:18-cv-00324-RGJ-RSE Document 1-1 Filed 05/22/18 Page 1 of 8 PageID #: 6




                             EXHIBIT A
Case 3:18-cv-00324-RGJ-RSE Document 1-1 Filed 05/22/18 Page 2 of 8 PageID #: 7




                             EXHIBIT A
Case 3:18-cv-00324-RGJ-RSE Document 1-1 Filed 05/22/18 Page 3 of 8 PageID #: 8




                             EXHIBIT A
Case 3:18-cv-00324-RGJ-RSE Document 1-1 Filed 05/22/18 Page 4 of 8 PageID #: 9




                             EXHIBIT A
Case 3:18-cv-00324-RGJ-RSE Document 1-1 Filed 05/22/18 Page 5 of 8 PageID #: 10




                             EXHIBIT A
Case 3:18-cv-00324-RGJ-RSE Document 1-1 Filed 05/22/18 Page 6 of 8 PageID #: 11




                             EXHIBIT A
Case 3:18-cv-00324-RGJ-RSE Document 1-1 Filed 05/22/18 Page 7 of 8 PageID #: 12




                             EXHIBIT A
Case 3:18-cv-00324-RGJ-RSE Document 1-1 Filed 05/22/18 Page 8 of 8 PageID #: 13




                             EXHIBIT A
